             Case 1-18-45085-cec          Doc 30      Filed 04/08/19         Entered 04/08/19 11:25:06



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     April 5, 2019

     Judge Carla E. Craig
     United States Bankruptcy Court, Eastern District of New York
     Conrad B. Duberstein Courthouse
     271-C Cadman Plaza East - Suite 1595
     Brooklyn, NY 11201

     RE:       In re Helen H Gluck, Case No. 18-45085-cec

     Dear Judge Craig:

         Please be reminded that the Debtor’s loan was service transferred from Seterus, Inc. to Mr. Cooper on March
     1, 2019. At this time the file is still in review with the underwriter. As soon as an update is received, Debtor’s
     Counsel will be notified immediately.

           Thank you for your time and attention to this matter.

                                                                   Respectfully submitted,
                                                                   /s/Robyn E. Goldstein, Esq.
                                                                   Robyn Goldstein




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